              Case 9:16-cv-00104-DWM Document 9 Filed 09/09/16 Page 1 of 3


1    Dale R. Cockrell
2    MOORE, COCKRELL,
     GOICOECHEA & JOHNSON, P.C.
3    145 Commons Loop, Suite 200
4    P.O. Box 7370
     Kalispell, MT 59904-0370
5
     Telephone: (406) 751-6000
6    Facsimile: (406) 756-6522
7
     Email: dcockrell@mcgalaw.com

8    Attorneys for Defendant Pan-American Life Insurance Company
9
                     IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE DISTRICT OF MONTANA
11                            MISSOULA DIVISION
12

13   JANET HEINZE,                                 Cause No. 9:16-CV-00104-DWM
14
                  Plaintiff,
15
                                                   NOTICE OF SETTLEMENT
16   v.
17
     PAN-AMERICAN LIFE INSURANCE
18   COMPANY and JOHN DOES 1-4
19
                  Defendants.
20

21

22
           Defendant Pan-American Life Insurance Company hereby provides this Notice
23
     of Settlement. Within thirty (30) days of this Notice, the parties will file a stipulation
24

25   for dismissal with prejudice and proposed order of dismissal with prejudice.
26

27

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      Case 9:16-cv-00104-DWM Document 9 Filed 09/09/16 Page 2 of 3


1    Dated this 9th day of September, 2016.
2
                                    MOORE, COCKRELL,
3
                                    GOICOECHEA & JOHNSON, P.C.
4

5
                                    /s/ Dale R. Cockrell
                                    Dale R. Cockrell
6                                   145 Commons Loop, Suite 200
7                                   P.O. Box 7370
                                    Kalispell, Montana 59904-0370
8
                                    Email: dcockrell@mcgalaw.com
9

10
                                    Attorneys for Defendant Pan-American
                                    Life Insurance Company
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             Case 9:16-cv-00104-DWM Document 9 Filed 09/09/16 Page 3 of 3


1                              CERTIFICATE OF SERVICE
2
           The undersigned does hereby certify that a true copy of the foregoing document
3

4    was served upon the following individuals by the means designated below:
5
     [ X] U.S. Mail           Alex K. Evans
6    [ ] CM/ECF               Michael A. Bliven
7    [ ] Federal Express      BLIVEN & EVANS TRIAL LAWYERS, P.C.
     [ ] Hand-Delivery        278 Fourth Avenue E.N.
8
     [ ] Facsimile            Kalispell, MT 59901
9    [ ] E-Mail
10
                              Attorneys for Plaintiff Janet Heinze

11

12
           Dated this 9th day of September, 2016.
13

14

15
                                     /s/Dale R. Cockrell
16                                   Dale R. Cockrell
17                                   dcockrell@mcgalaw.com
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